      Case 18-10611-jal                  Doc 11          Filed 06/28/18             Entered 06/29/18 01:03:42                        Page 1 of 3

 Information to identify the case:
 Debtor 1               Jeffery M. Zeman                                                        Social Security number or ITIN           xxx−xx−7323
                        First Name   Middle Name   Last Name                                    EIN _ _−_ _ _ _ _ _ _
 Debtor 2                                                                                       Social Security number or ITIN _ _ _ _
                        First Name   Middle Name   Last Name
 (Spouse, if filing)
                                                                                                EIN     _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court               Western District of Kentucky
                                                                                                Date case filed for chapter 11 6/25/18
 Case number:          18−10611−jal

Official Form 309E (For Individuals or Joint Debtors)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/15

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 10 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                               About Debtor 1:                                              About Debtor 2:
 1. Debtor's full name                         Jeffery M. Zeman

 2. All other names used in the
    last 8 years

 3. Address                                    4194 Witt Rd.
                                               Franklin, KY 42134

 4. Debtor's attorney                          Robert C. Chaudoin                                        Contact phone (270) 842−5611
      Name and address                         519 E. 10th Street
                                               P.O. Box 390                                              Email chaudoin@harlinparker.com
                                               Bowling Green, KY 42102−0390

 5. Bankruptcy clerk's office                                                                             Hours open:
      Documents in this case may be filed                                                                 8:30 a.m. to 4:30 p.m. Eastern Time Zone
                                               450 U.S. Courthouse
      at this address.                         601 W. Broadway
      You may inspect all records filed in                                                                Contact phone 502−627−5700
                                               Louisville, KY 40202
      this case at this office or online at
      www.pacer.gov.                                                                                      Date: 6/26/18

                                                                                                           For more information, see page 2 >




Official Form 309E (For Individuals or Joint Debtors)                    Notice of Chapter 11 Bankruptcy Case                                         page 1
     Case 18-10611-jal                   Doc 11           Filed 06/28/18               Entered 06/29/18 01:03:42                            Page 2 of 3
Debtor Jeffery M. Zeman                                                                                                          Case number 18−10611−jal

 6. Meeting of creditors
     Debtors must attend the meeting to      August 10, 2018 at 12:00 PM                                      Location:
     be questioned under oath. In a joint                                                                     William Natcher Federal Courthouse,
     case, both spouses must attend.         The meeting may be continued or adjourned to a later             241 East Main Street, Third Floor,
     Creditors may attend, but are not       date. If so, the date will be on the court docket.               Bowling Green, KY 42101
     required to do so.

 7. Deadlines                        File by the deadline to object to discharge or to challenge                          First date set for hearing on
     The bankruptcy clerk's office   whether certain debts are dischargeable:                                             confirmation of plan. The court will
     must receive these                                                                                                   send you a notice of that date later.
     documents and any required
     filing fee by the following     You must file a complaint:                                                           Filing deadline for
     deadlines.                                                                                                           dischargeability complaints:
                                             •   if you assert that the debtor is not entitled to receive a discharge
                                                 of any debts under 11 U.S.C. § 1141(d)(3) or
                                             •   if you want to have a debt excepted from discharge under 11
                                                 U.S.C. § 523(a)(2), (4), or (6).


                                     Deadline for filing proof of claim:                                                  Not yet set. If a deadline is set, the
                                                                                                                          court will send you another notice.
                                     A proof of claim is a signed statement describing a creditor's claim. A proof
                                     of claim form may be obtained at www.uscourts.gov or any bankruptcy
                                     clerk's office.

                                     Your claim will be allowed in the amount scheduled unless:

                                             • you
                                               your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             •     receive another notice.

                                     If your claim is not scheduled or if your claim is designated as disputed,
                                     contingent, or unliquidated, you must file a proof of claim or you might not be
                                     paid on your claim and you might be unable to vote on a plan. You may file a
                                     proof of claim even if your claim is scheduled.

                                     You may review the schedules at the bankruptcy clerk's office or online at
                                     www.pacer.gov.

                                     Secured creditors retain rights in their collateral regardless of whether they
                                     file a proof of claim. Filing a proof of claim submits a creditor to the
                                     jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                     For example, a secured creditor who files a proof of claim may surrender
                                     important nonmonetary rights, including the right to a jury trial.


                                     Deadline to object to exemptions:                                                    Filing Deadline:
                                     The law permits debtors to keep certain property as exempt. If you believe           30 days after the conclusion of the
                                     that the law does not authorize an exemption claimed, you may file an                meeting of creditors
                                     objection.

                                             If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 8. Creditors
    address
              with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.

                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 9. Filing a Chapter 11
    bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee
                                             is serving, the debtor will remain in possession of the property and may continue to operate the debtor's
                                             business.

                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                             See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until
                                             all payments under the plan are made. A discharge means that creditors may never try to collect the debt
                                             from the debtors personally except as provided in the plan. If you believe that a particular debt owed to you
 10. Discharge of debts                      should be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint
                                             and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not
                                             entitled to a discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay
                                             the filing fee in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will
                                             send you another notice telling you of that date.

                                             The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                             distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
 11. Exempt property                         as exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                             believe that the law does not authorize an exemption that the debtors claim, you may file an objection. The
                                             bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 7.


Official Form 309E (For Individuals or Joint Debtors)                       Notice of Chapter 11 Bankruptcy Case                                              page 2
         Case 18-10611-jal            Doc 11        Filed 06/28/18         Entered 06/29/18 01:03:42                 Page 3 of 3
                                               United States Bankruptcy Court
                                               Western District of Kentucky
In re:                                                                                                     Case No. 18-10611-jal
Jeffery M. Zeman                                                                                           Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0644-1                  User: sgreathou                    Page 1 of 1                          Date Rcvd: Jun 26, 2018
                                      Form ID: 309E                      Total Noticed: 19


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 28, 2018.
db             +Jeffery M. Zeman,    4194 Witt Rd.,    Franklin, KY 42134-6940
6329208        +3RD & Central Properties, LLC.,     3204 Ten Brock Way,    Louisville, KY 40241-2489
6329209        +Brian and Missy Simmons,    1223 Lakemere Ave.,    Bowling Green, KY 42103-6013
6329212        +Franklin Bank & Trust,    PO Box 449,    Franklin, KY 42135-0449
6329213        +Hankcock Bank & Trust Company,     2501 Crossings Blvd.,    Bowling Green, KY 42104-5459
6329214        +John H. Dwyer,    ZIELKE Law Firm,    462 South 4th St., Ste. 1250,    Louisville, KY 40202-3465
6329215        +Lonna Zeman,    N1402 Chrisler Rd.,    Lodi, WI 53555-9305
6329216         Matt Zeman,    Nl402 Chrisler Rd.,    Lodi, WI 53555
6329217        +Misty Zeman,    4194 Whitt Rd.,    Franklin, KY 42134-6940
6329218        +PennyMac Loan Services, LLC.,    27001 Agoura Rd.,    Agoura Hills, CA 91301-5339
6329219        +Richard McGahan,    186 Windmere Ct.,    Bowling Green, KY 42103-8719

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: chaudoin@harlinparker.com Jun 26 2018 19:27:00       Robert C. Chaudoin,
                 519 E. 10th Street,    P.O. Box 390,   Bowling Green, KY 42102-0390
smg             EDI: IRS.COM Jun 26 2018 23:28:00      IRS,    PO Box 7346,   Philadelphia, PA 19101-7346
ust            +E-mail/Text: ustpregion08.lo.ecf@usdoj.gov Jun 26 2018 19:27:34       Charles R. Merrill,
                 Asst. U.S.Trustee,    601 West Broadway #512,    Louisville, KY 40202-2229
6329210        +EDI: CHASE.COM Jun 26 2018 23:28:00      Chase Card Services,    PO Box 15298,
                 Wilmington, DE 19850-5298
6329211        +E-mail/Text: thigh@edmontonstatebank.com Jun 26 2018 19:27:06       Edmonton State Bank,
                 909 West Main Street,    Glasgow, KY 42141-1117
6329220        +E-mail/Text: bankruptcy@bbandt.com Jun 26 2018 19:27:33       Sheffield Financial Corp,
                 P.O. Box 1704,    Clemmons, NC 27012-1704
6329221        +E-mail/Text: marisa.sheppard@timepayment.com Jun 26 2018 19:27:56       TimePayment Corp .,
                 10M Commerce Way,    Woburn, MA 01801-8000
6329222        +EDI: USAA.COM Jun 26 2018 23:28:00      USAA Savings Bank,    P. O. Box 33009,
                 San Antonio, TX 78265-3009
                                                                                               TOTAL: 8

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 28, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 26, 2018 at the address(es) listed below:
              Charles R. Merrill   ustpregion08.lo.ecf@usdoj.gov
              Robert C. Chaudoin   on behalf of Debtor Jeffery M. Zeman chaudoin@harlinparker.com,
               rachel@harlinparker.com
                                                                                            TOTAL: 2
